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                      UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF NEW HAMPSHIRE



United States of America

            v.                                  Case No. 07-cr-08-01-SM

Melissa Allen


                                        ORDER



       Defendant's assented-to motion to continue the trial (document no. 10) is granted.

Trial has been rescheduled for the June 2007 trial period. Defendant shall file a Waiver of

Speedy Trial Rights not later than February 27, 2007. On the filing of such waiver, his

continuance shall be effective.

       The court finds that the ends of justice served by granting a continuance outweigh

the best interest of the public and the defendant in a speedy trial, 18 U.S.C. §

3161(h)(8)(B)(iv), in that failure to grant a continuance would unreasonably deny the

defendant the reasonable time necessary for effective preparation taking into account the
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exercise of due diligence under the circumstances.

      Final Pretrial Conference: May 24, 2007 at 3:00 PM

      Jury Selection:             June 5, 2007 at 9:30 AM

      SO ORDERED.



February 22, 2007                       _________________________
                                        Steven J. McAuliffe
                                        Chief Judge

cc: Karin Eckel, Esq.
    Jeffrey Levin.
    U. S. Probation
    U. S. Marshal




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